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UNITED STATES DISTRICT COURT                                                        1/11/2021
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   ANTON LIVERPOOL,                                           :
                                                              :
                                                Plaintiff,    :   1:20-cv-04629 (ALC)
                                                              :
                     -against-                                :   ORDER
                                                              :
   CITY OF NEW YORK ET AL.,                                   :
                                                              :
                                            Defendants.       :
                                                              :
------------------------------------------------------------x :

ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of Defendant City of New York’s letter dated January 8, 2021 in

response to this Court’s November 18, 2020 Order. ECF No. 22.

        Defendant City of New York had previously requested that Plaintiff provide a physical

description of John Does #3, #4, #7, and #8, in order to identify these Defendants pursuant to the

Court’s Valentin order issued on August 26, 2020. ECF Nos. 15, 19. The Court directed Mr.

Liverpool to provide additional details on these individuals by no later than December 31, 2020.

ECF No. 20. According to Defendant City of New York, Plaintiff has yet to provide this

information. Mr. Liverpool is hereby directed to send the Court a letter by February 1,

2021, providing any additional details he may have on John Does #3, #4, #7, and #8, including

physical description, to the extent they were not previously included in his amended complaint.

        Defendant City of New York has also advised the Court that the Plaintiff has not

provided the requested executed medical releases either. Mr. Liverpool is hereby ORDERED

to mail these to Plaintiff City of New York using the pre-paid envelope provided by the

City by no later than February 1, 2021.
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        Defendant City of New York is hereby GRANTED an extension until February 16, 2021

to identify John Does #3, #4, #7, and #8. Plaintiff will then have thirty (30) days to file a

second amended complaint naming the John Doe defendants. Defendant City of New York

and Defendant Supris are also hereby GRANTED an extension on the Local Rule 33.2 discovery

responses until thirty (30) days after Plaintiff files a second amended complaint.

       The telephone status conference scheduled for January 19, 2021 at 2:00 p.m. will go

ahead as planned. Defendant City of New York should contact Plaintiff directly before jointly

contacting the Court at 1-888-363-4749 (Conference Code: 3768660) on the date and time

specified above. If for any reason Plaintiff is not available on the specified date and time,

Defendant City of New York is directed to let the Court know as soon as practicable.

       Defendant City of New York is hereby ORDERED to serve this order on Plaintiff by first

class mail and file proof of service by January 13, 2021.

SO ORDERED.

Dated: January 11, 2020                               ___________________________________
       New York, New York                                   ANDREW L. CARTER, JR.
                                                            United States District Judge
